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   IN THE DISTRICT COURT OF THE UNITED STATES

                      for the Western District of New York
                                    ____________________

                                                        MAY 2016 GRAND JURY
                                                        (Impaneled 05/13/16)

 THE UNITED STATES OF AMERICA                           INDICTMENT

         -vs-                                           Violations:
                                                        Title 21, United States Code,
                                                        Sections 841(a)(1), 846, and 856(a)(1);
 JOHN NELSON a/k/a Sunny                                Title 18, United States Code,
     (Counts 1-10), and                                 Section 2
 LAWRENCE RUSSELL a/k/a Mucho                           (10 Counts and Forfeiture Allegation)
     (Counts 1-10)



                                          COUNT 1

            (Conspiracy to Possess with Intent to Distribute, and to Distribute,
                               Cocaine and Cocaine Base)

                                The Grand Jury Charges That:

       Beginning in or before January 2013, the exact date being unknown to the Grand Jury,

and continuing until on or about January 23, 2015, in the Western District of New York, and

elsewhere, the defendants, JOHN NELSON a/k/a Sunny and LAWRENCE RUSSELL

a/k/a Mucho, did knowingly, willfully, and unlawfully combine, conspire, and agree

together and with others, known and unknown to the Grand Jury, to commit the following

offenses, that is:

       a.       to possess with intent to distribute, and to distribute, 500 grams or more of a

mixture and substance containing cocaine, a Schedule II controlled substance, in violation of

Title 21, United States Code, Sections 84l(a)(l) and 841(b)(1)(B); and
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       b.      to possess with intent to distribute, and to distribute, 28 grams or more of a

mixture and substance containing cocaine base, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 84l(a)(l) and 841(b)(1)(B).

       All in violation of Title 21, United States Code, Section 846.



                                          COUNT 2

        (Possession With Intent to Distribute, and Distribution of, Cocaine Base)

                          The Grand Jury Further Charges That:

       On or about May 7, 2014, in the Western District of New York, the defendants, JOHN

NELSON a/k/a Sunny and LAWRENCE RUSSELL a/k/a Mucho, did knowingly,

intentionally, and unlawfully possess with intent to distribute, and distribute, a quantity of

cocaine base, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.



                                          COUNT 3

            (Possession With Intent to Distribute, and Distribution of, Cocaine)

                          The Grand Jury Further Charges That:

       On or about May 14, 2014, in the Western District of New York, the defendants,

JOHN NELSON a/k/a Sunny and LAWRENCE RUSSELL a/k/a Mucho, did knowingly,

intentionally, and unlawfully possess with intent to distribute, and distribute, a quantity of

cocaine, a Schedule II controlled substance.




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       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.



                                         COUNT 4

          (Possession With Intent to Distribute, and Distribution of, Cocaine)

                          The Grand Jury Further Charges That:

       On or about June 5, 2014, in the Western District of New York, the defendants, JOHN

NELSON a/k/a Sunny and LAWRENCE RUSSELL a/k/a Mucho, did knowingly,

intentionally, and unlawfully possess with intent to distribute, and distribute, a quantity of

cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.



                                         COUNT 5

          (Possession With Intent to Distribute, and Distribution of, Cocaine)

                          The Grand Jury Further Charges That:

       On or about August 21, 2014, in the Western District of New York, the defendants,

JOHN NELSON a/k/a Sunny and LAWRENCE RUSSELL a/k/a Mucho, did knowingly,

intentionally, and unlawfully possess with intent to distribute, and distribute, a quantity of

cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.




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                                         COUNT 6

          (Possession With Intent to Distribute, and Distribution of, Cocaine)

                          The Grand Jury Further Charges That:

       On or about January 14, 2015, in the Western District of New York, the defendants,

JOHN NELSON a/k/a Sunny and LAWRENCE RUSSELL a/k/a Mucho, did knowingly,

intentionally, and unlawfully possess with intent to distribute, and distribute, a quantity of

cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.



                                         COUNT 7

        (Possession With Intent to Distribute, and Distribution of, Cocaine Base)

                          The Grand Jury Further Charges That:

       On or about January 14, 2015, in the Western District of New York, the defendants,

JOHN NELSON a/k/a Sunny and LAWRENCE RUSSELL a/k/a Mucho, did knowingly,

intentionally, and unlawfully possess with intent to distribute, and distribute, a quantity of

cocaine base, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.




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                                         COUNT 8

          (Possession With Intent to Distribute, and Distribution of, Cocaine)

                          The Grand Jury Further Charges That:

       On or about January 23, 2015, in the Western District of New York, the defendants,

JOHN NELSON a/k/a Sunny and LAWRENCE RUSSELL a/k/a Mucho, did knowingly,

intentionally, and unlawfully possess with intent to distribute, and distribute, a quantity of

cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.



                                         COUNT 9

        (Possession With Intent to Distribute, and Distribution of, Cocaine Base)

                          The Grand Jury Further Charges That:

       On or about January 23, 2015, in the Western District of New York, the defendants,

JOHN NELSON a/k/a Sunny and LAWRENCE RUSSELL a/k/a Mucho, did knowingly,

intentionally, and unlawfully possess with intent to distribute, and distribute, a quantity of

cocaine base, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.




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                                        COUNT 10

                          (Maintaining Drug-Involved Premises)

                          The Grand Jury Further Charges That:

       Beginning in or before May 2014, the exact date being unknown to the Grand Jury,

and continuing until on or about January 23, 2015, in the Western District of New York, the

defendants, JOHN NELSON a/k/a Sunny and LAWRENCE RUSSELL a/k/a Mucho,

did knowingly, intentionally, and unlawfully use and maintain a place, that is, the premises

at 165 14th Street, Buffalo, New York, for the purpose of manufacturing, distributing, and

using cocaine and cocaine base, both Schedule II controlled substances.

       All in violation of Title 21, United States Code, Section 856(a)(1) and Title 18,

United States Code, Section 2.



                             FORFEITURE ALLEGATION

                              The Grand Jury Alleges That:

       Upon conviction of any of the controlled substance offenses alleged in Counts 1

through 10 of this Indictment, the defendants shall forfeit to the United States any property

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of said

violations and any and all property used, and intended to be used, in any manner or part, to

commit or to facilitate the commission of said violations, including, but not limited to the

following:

MONETARY JUDGMENT:

       The sum of Two Hundred and Fifty Thousand Dollars ($250,000.00) in United
       States Currency, to be evidenced by a monetary judgment issued by this Court
       in aforesaid amount. Said judgment amount to be held joint and severally will



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       accrue at the prevailing rate per annum and serve as a judgment and lien against
       defendant’s property, wherever situated until fully satisfied.

       It is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of the above

property.

       All pursuant to Title 21, United States Code, Sections 853(a)(1), (a)(2) and (p).



       DATED: Buffalo, New York, February 15, 2017.



                                           JAMES P. KENNEDY, JR.
                                           Acting United States Attorney


                                    BY:    S/WEI XIANG
                                           Assistant United States Attorney
                                           United States Attorney’s Office
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A TRUE BILL:


S/FOREPERSON




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